         Case 17-80201 Document 110 Filed in TXSB on 10/04/23 Page 1 of 2


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                     GALVESTON DIVISION

IN RE:                                             §                        CASE NO. 17-80201-G5-13
                                                   §
RICHARD DALE ROOT                                  §
KELLIE RAYNEE ROOT                                 §
                                                   §
DEBTOR(S)                                          §                                   CHAPTER 13

            CHAPTER 13 TRUSTEE’S NOTICE OF ADJUSTMENT TO PLAN PAYMENT

    NOTICE IS HEREBY GIVEN, that on September 12, 2023, Midfirst Bank filed a Notice of

Mortgage Payment Change (docket #108). No party in interest filed a timely motion seeking review of

the proposed adjustment. Therefore, pursuant to Paragraph 8 of the Chapter 13 plan, the Trustee has

adjusted the Chapter 13 plan payment as follows:



    Effective with the November 02, 2023 payment, the Chapter 13 plan payment is decreased by the

sum of $45.21, for a total payment of $1,393.82, and this decrease is effective to all subsequent plan

payments, unless otherwise ordered by the Court. Failure of the Debtor to comply with this adjustment

shall be grounds for dismissal of this case.



                                                       RESPECTFULLY SUBMITTED,

                                                       /s/ William E. Heitkamp
                                                       William E. Heitkamp, Trustee
                                                       9821 Katy Freeway Suite 590
                                                       Houston, TX 77024
                                                       (713) 722-1200 Telephone
                                                       (713) 722-1211 Facsimile
         Case 17-80201 Document 110 Filed in TXSB on 10/04/23 Page 2 of 2


                                      CERTIFICATE OF SERVICE

The undersigned does hereby certify that a true and correct copy of the foregoing was sent to all
parties as listed below on October 04, 2023, either electronically or via U.S. First Class Mail.

United States Trustee               Debtor's Attorney:                    Richard Dale Root
515 Rusk Avenue                     Keeling, Kenneth A                    Kellie Raynee Root
Suite 3516                          Attorney At Law                       7218 Stewart Street
Houston, Tx 77002                   3310 Katy Freeway #200                Hitchcock, Tx 77563
                                    Houston, Tx 77007

                                          /s/ William E. Heitkamp
                                        William E. Heitkamp, Trustee
